Case 5:21-cv-01022-G Document 50-2 Filed 11/09/21 Page 1 of 3




                   EXHIBIT 2
          Case 5:21-cv-01022-G Document 50-2 Filed 11/09/21 Page 2 of 3



Questions or Concerns about HB 1775
“Obstacles don’t have to stop you. If you run into a wall,
don’t turn around and give up. Figure out how to climb it,
go through it, or work around it.” -- Michael Jordan




                                                                          4
        Case 5:21-cv-01022-G Document 50-2 Filed 11/09/21 Page 3 of 3




● Avoid the term “diversity” when naming units
  or lessons.
  ○ Ex: Instead of a “Diversity Lit Circle,”just
      call it a Lit Circle.
● Under 1775, Do not discuss “white privilege”
  as part of your lesson. Students can bring up
  the topic or discussion.


                                                                        5
